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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


CHANDRIKABEN PANCHAL
2450 Emmitsburg Rd
Gettysburg, PA 17325
Adams county, Cumberland

Plaintiff,                              Case No.:

      vs.
                                        COMPLAINT
KIRSTJEN M. NIELSEN, Secretary
of Homeland Security
Washington, DC 20528

L.FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

GREGORY RICHARDSON, Director of
the United States Citizenship and
Immigration Services’
Texas Service Center
4141 North St. Augustine Road
Dallas, TX 75227

             Defendants.
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1                                      COMPLAINT
2
                               DESCRIPTION OF ACTION
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           1. This complaint is brought by CHANDRIKABEN PANCHAL against the
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     Defendants to compel a decision on her Form I-485, application for adjustment of
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7    status, which has been pending with the defendants for over six (6) years.
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9
                                      JURISDICTION
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           2. This being a civil action against the United States arising under the
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     Immigration and Nationality Act, 8 U.S.C. § 1101 et. seq., the Mandamus Act, 28

14   U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C. § 701 et seq., all
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     laws of the United States, original jurisdiction over this matter is vested in this
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     Court by 28 U.S.C. § 1331.
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                              DESCRIPTION OF PARTIES
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20         3. The plaintiff, CHANDRIKABEN PANCHAL is a citizen and national of
21   India residing in the state of Pennsylvania. Her “alien number” is A088 616 269.
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23        4 . The defendant, KIRSTJEN M. NIELSEN, is the Secretary of Homeland

24   Security, and as such has the authority to adjudicate applications for adjustment of
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     status (Form I-485). She resides for official purposes in the District of Columbia.

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1         5 .   The defendant, L. FRANCIS CISSNA, is the Director of the United
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     States Citizenship and Immigration Services (USCIS), the agency within the
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     Department of Homeland Security which adjudicates Forms I-485. He resides for
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5    official purposes in the District of Columbia.
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          6 . The defendant, GREGORY RICHARDSON, is the Director of the
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     USCIS’s Texas Service Center where CHANDRIKABEN PANCHAL’s Form I-
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9    485 is currently pending, and has immediate responsibility for its adjudication. He
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     resides for official purposes in the State of Texas.
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12

13                   BRIEF STATEMENT OF RELEVANT FACTS
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15         7 . On December 14, 2011, Simmy D. Panchal, a U.S. citizen, filed a petition

16   for alien relative (Form I-130) upon behalf of CHANDRIKABEN PANCHAL, her
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     mother, with USCIS to classify Mrs. Panchal as an immigrant pursuant to 8 U.S.C.
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     § 1151(b) on the basis of being a parent of a U.S. citizen.
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21       8 . This petition, assigned File No. MSC-12-902-20488, was approved by
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     USCIS on December 12, 2016.
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1             9 . About the same time that Simmy D. Panchal filed the referenced Form I-
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     130, CHANDRIKABEN PANCHAL filed a Form I-485 with the USCIS to adjust
3
     her U.S. immigration status to that of alien lawfully admitted for permanent
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5    residence, which was assigned File No. MSC1290220487.
6
          10.    Since that time CHANDRIKABEN PANCHAL has been interviewed on
7
     her application and made numerous follow up requests with the USCIS, all to no
8

9
     avail.

10        11 . As of the date of the filing of this complaint there has yet to be a

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     decision upon Mrs. Panchal’s Form I-485.
12

13
                                          COUNT I
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15
          12 . Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,
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17   Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
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     Immigration Services, and Defendant GREGORY RICHARDSON, Director of the
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     United States Citizenship and Immigration Services’ Texas Service Center, are
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21   each and all officers or employees of the United States and the indicated agency.

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24        13. . Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland Security,

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     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and

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1    Immigration Services, and Defendant GREGORY RICHARDSON, Director of the
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     United States Citizenship and Immigration Services’ Texas Service Center, each
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     and all owe a duty to the Plaintiff CHANDRIKABEN PANCHAL to adjudicate
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5    her I-485 within a reasonable period of time. 5 U.S.C. § 555(b) ("With due regard
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     for the convenience and necessity of the parties or their representatives and within
7
     a reasonable time, each agency shall proceed to conclude a matter presented to
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9
     it.").

10      15.    According to the USCIS’s own website, current processing times for
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     Forms I-485 at the Texas Service Center is 9 to 21 months.
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14      16.    Accordingly, the over six (6) years in which this application has been

15   pending with Defendant KIRSTJEN M. NIELSEN, Secretary of Homeland
16
     Security, Defendant L. FRANCIS CISSNA, Director of the United States
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     Citizenship    and     Immigration     Services,     and     Defendant GREGORY
18

19   RICHARDSON, Director of the United States Citizenship and Immigration

20   Services’ Texas Service Center, is well beyond that which these officers or
21
     employees reasonably require to adjudicate it.
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23      17.   This Court has authority under 28 U.S.C. § 1361 to compel an officer or

24   employee of the United States to perform a duty owed to the Plaintiffs.
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1        18     . This Court also has authority under 5 U.S.C. § 706(1) to compel agency
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     action unlawfully withheld or unreasonably delayed.
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                                   RELIEF REQUESTED

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              WHEREFORE it is respectfully requested that the Court compel Defendants
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     KIRSTJEN M. NIELSEN, Secretary of Homeland Security, L. FRANCIS
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10   CISSNA, Director of the United States Citizenship and Immigration Services, and
11
     GREGORY RICHARDSON, Director of the United States Citizenship and
12
     Immigration Services’ Texas Service Center, to adjudicate CHANDRIKABEN
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14
     PANCHAL’s Form I-485 in no more than 30 days from the date of the Court's

15   order, and to take such other action as it deems appropriate.
16
     Respectfully submitted,
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     Dated this 10th day of April, 2018
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20
                                                s/ Michael E. Piston
                                               Michael E. Piston MI0002
21                                             Attorney for the Plaintiff
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22                                             New York, NY, 10007
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